
In a proceeding under article 78 of the Civil Practice Act, final order annulling the determination of the State Liquor Authority, which determination is a refusal of a retail wine and liquor license to respondents, and directing issuance of a license, reversed on the law and the facts, without costs, and the determination of the State Liquor Authority confirmed, without costs. On the facts in this record, it may not be held as a matter of law that the State Liquor Authority acted unreasonably, arbitrarily, or in bad faith. The court may not substitute its judgment for that of the authority, to whom the power to pass on the matter is given by statute. (Matter of Glintenkamp v. O’Connell, 271 App. Div. 795, affd. 296 N. Y. 806; Matter of McKeon v. O’Connell, 271 App. Div. 897; Matter of Finn v. O’Connell, 271 App. Div. 896.) Lewis, P. J., Hagarty, Johnston and Nolan, JJ., concur; Aldrich, J., deceased.
